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                                  UNITED STATES DISTRICT COURT
18                              NORTHERN DISTRICT OF CALIFORNIA
                                        SAN JOSE DIVISION
19
     SUZANNE-JULIETTE MOBLEY, DANIEL                       Case No. 16-cv-06440-EJD
20   ADRIAN MANRIQUEZ, and VICTOR
     ONUOHA, on behalf of themselves and all others
21                                                         PLAINTIFFS’ OPPOSITION TO
     similarly situated,
                                                           FACEBOOK’S REQUEST FOR JUDICIAL
22
                          Plaintiffs,                      NOTICE
23
                   vs.                                     Judge: Hon. Edward J. Davila
24                                                          
25   FACEBOOK, INC.,

26                        Defendant.

27
28
                                                                           PLS.’ OPP. TO FACEBOOK’S
                                                                       REQUEST FOR JUDICIAL NOTICE
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 1                                               INTRODUCTION

 2          The Court should deny Facebook, Inc.’s (“Facebook”) Request for Judicial Notice in Support of

 3   its Motion to Dismiss. ECF No. 34-1. Although this proposed class action asserts civil rights claims

 4   dating back many years, Facebook asks the Court to consider single copies of Facebook’s “Advertising

 5   Policies” (ECF No. 34-2 at 4; “Exhibit A”) and “Discriminatory Practices” (ECF No. 34-2 at 6-14;

 6   “Exhibit B”) taken from its website at a single moment in time as evidence that “Facebook requires all

 7   advertisers to comply with its Advertising Policies, which have always prohibited advertisers from using

 8   the Ad Platform to engage in unlawful discrimination.” ECF No. 34 at 3 (emphasis added). There is no

 9   date information on either document stating when they have been or were in effect. Facebook states that

10   these two documents were printed from its website on April 3, 2017. ECF No. 34-2 at 2.

11          However, we do not know if those policies have “always” prohibited certain conduct because

12   Facebook only provides single undated copies of the policies posted on its website at one particular

13   moment in time. And we do not know whether and how Facebook “requires” (or has, during the

14   liability period, required) “all advertisers to comply” with those policies.

15          Judicial notice would be inappropriate because (1) the First Amended Complaint (“FAC” or

16   “Complaint”)), ECF No. 28, does not refer to or rely on the documents, (2) the documents are irrelevant

17   to whether Facebook actually engaged in the discrimination alleged by Plaintiffs, and (3) Facebook

18   admits that it changed its advertising and discrimination policies in December 2016. See ECF No. 34 at

19   3 n.2 (“Since December 2016, targeting based on ethnic affinity categories for ads offering housing,

20   employment or credit opportunities has been disallowed.”) (citing Facebook website). Facebook does

21   not provide copies of the policies from before April 3, 2017.

22          The Ninth Circuit has set a very high bar for consideration of documents outside of the complaint

23   when a court is ruling on a motion to dismiss, since such a motion challenges the legal sufficiency of the

24   complaint. Facebook’s request fails all three requirements of the Ninth Circuit’s standard, because (1)

25   the complaint does not refer to the documents, (2) there is no reason to believe that the documents are

26   authentic during the time period for which Facebook asks the Court to consider them, and (3) the

27   documents are not relevant to the pending motion.

28
                                                       1                        PLS.’ OPP. TO FACEBOOK’S
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 1                                                 ARGUMENT

 2          Facebook argues that Exhibits A and B can be considered under the doctrine of incorporation by

 3   reference. ECF No. 34-1 at 2 (citing Coto Settlement v. Eisenberg, 593 F.3d 1031, 1038 (9th Cir.

 4   2010)). In addition to the Ninth Circuit’s decision in Coto Settlement that sets forth the standard for

 5   incorporation by reference, Facebook cites two district court decisions that applied the doctrine of

 6   incorporation by reference to permit the consideration of documents from companies’ websites where

 7   the incorporation by reference test was satisfied. See id. at 2 (citing In re Yahoo Mail Litig., 7 F. Supp.

 8   3d 1016, 1025 (N.D. Cal. 2014), and Datel Holdings Ltd. v. Microsoft Corp., 712 F. Supp. 2d 974, 983-

 9   84 (N.D. Cal. 2010)). Facebook does not suggest or argue that its request for judicial notice relies upon

10   a standard or doctrine other than incorporation by reference. Nor does it identify any case that actually

11   holds that a document can be considered at the pleading stage merely because it is on a public website

12   (including, as here, the defendant’s own website).

13          As the Ninth Circuit explained in Coto Settlement, to apply the incorporation by reference

14   doctrine, a defendant must satisfy a three-prong test:

15          [1] the complaint necessarily relies upon a document or the contents of the document are
            alleged in a complaint, [2] the document's authenticity is not in question and [3] there are
16          no disputed issues as to the document’s relevance.

17   Coto Settlement, 593 F.3d at 1038 (citing Knievel v. ESPN, 393 F.3d 1068, 1076 (9th Cir. 2005), inter

18   alia). Facebook’s request fails each of these three requirements.

19          1.       Requirement One: The Complaint Does Not Rely on the Two Documents Offered
                     by Facebook.
20
            The Court cannot consider the documents at the pleading stage because Facebook cannot show
21
     that “the complaint necessarily relies upon a document or the contents of the document are alleged in a
22
     complaint[.]” Coto Settlement, 593 F.3d at 1038. Facebook does not describe how the Complaint refers
23
     to or relies upon Exhibits A and B or how the contents of Exhibits A and B are alleged in the Complaint.
24
     As such, it has waived this argument by not making it in its opening brief. In any event, Facebook
25
     would be wrong—and be disregarding controlling precedent—if it had made such an argument.
26
            For a defendant to show that a Complaint “necessarily relies” upon a document, it must show
27
     that “(1) the complaint refers to the document; (2) the document is central to the plaintiff’s claim; and
28
                                                       2                       PLS.’ OPP. TO FACEBOOK’S
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 1   (3) no party questions the authenticity of the copy attached to the 12(b)(6) motion.” Marder v. Lopez,

 2   450 F.3d 445, 448 (9th Cir. 2006).

 3          First, the complaint does not “refer[] to the document,” as it does not mention or cite these

 4   specific policies in any way. Id.

 5          Second, these two exhibits are not “central to plaintiff[s’] claim[s],” because Plaintiffs’ claims

 6   focus on Facebook’s actual conduct – how its advertising platform functions, what features it has, and

 7   how they are used in practice – not on Facebook’s view of its policies in Exhibits A and B or how

 8   Facebook describes them to advertisers. Id.; see, e.g., Marble Bridge Funding Grp., Inc. v. Liquid

 9   Capital Exch., Inc., No. 15 Civ. 00177, 2015 WL 5654844, at *3 n.1 (N.D. Cal. Sept. 25, 2015) (Davila,

10   J.) (finding a complaint necessarily relied upon a document because the complaint “reference[d] [the

11   document] extensively as a basis for its allegations”).

12          This is not a situation where, for instance, a complaint expressly refers to an agreement to allege

13   that a defendant violated its terms or a document that shows the defendant committed fraud. See, e.g.,

14   Morici v. Hashfast Techs. LLC, No. 14 Civ. 00087, 2015 WL 4880670, at *4 (N.D. Cal. Aug. 14, 2015)

15   (Davila, J.) (document incorporated where plaintiff “expressly refers to the document in the FAC . . . as

16   part of his fraud allegations”); May v. Semblant, Inc., No. 13 Civ. 01576, 2013 WL 5423614, at *2 (N.D.

17   Cal. Sept. 27, 2013) (Davila, J.) (written contract incorporated where “written contract is referenced

18   several times in Plaintiff’s Complaint and Plaintiff asserts that the terms of the verbal offer . . . control

19   over the terms of the written offer”); cf. In re Domestic Airline Travel Antitrust Litig., No. 15 Civ. 1404,

20   2016 WL 6426366, at *14 (D.D.C. Oct. 28, 2016) (document not incorporated was unlike a “copy of a

21   contract underlying a complaint asserting a breach of contract”).

22          Moreover, fatal to Facebook’s request, a complaint cannot rely on a document that is created

23   after the complaint was filed. Marder, 450 F.3d at 448 (holding a letter “created after [plaintiff’s]

24   complaint was filed . . . could not have possibly been a document upon which her complaint ‘necessarily

25   relie[d]’”); Woods v. Google, Inc., 889 F. Supp. 2d 1182, 1193 n.5 (N.D. Cal. 2012) (Davila, J.)

26   (rejecting incorporation by reference where the “screenshot itself was created after the FAC was filed”;

27   “[t]hus, the complaint does not refer to the document”). And here, there is no indication or evidence that

28
                                                        3                        PLS.’ OPP. TO FACEBOOK’S
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 1   the documents Facebook asks the Court to consider were created before the Complaint was filed. In

 2   fact, the most that can be discerned from Facebook’s request is that they existed on April 3, 2017,

 3   months after the original complaint and the FAC were filed on November 3, 2016 and February 13,

 4   2017, respectively. ECF No. 34-2 at 2.

 5          Furthermore, because there is a dispute over what Facebook’s advertising and discrimination

 6   policies actually said before April 3, 2017, “[i]t is therefore inappropriate to consider the record as an

 7   incorporated supplement to the FAC.” Ellis v. Phillips & Cohen Assocs., Ltd., No. 14 Civ. 05539, 2015

 8   WL 4396375, at *4 (N.D. Cal. July 17, 2015) (Davila, J.) (citing United States ex rel. Lee v. Corinthian

 9   Colls., 655 F.3d 984, 999 (9th Cir. 2011)).

10          Third, as noted below in Section 2, Plaintiffs do question the authenticity of the documents for

11   any period before April 3, 2017, the date Facebook printed them out and filed them in this case.

12          For those three reasons, the first requirement of the Ninth Circuit test – whether the complaint

13   necessarily relies on the documents being proffered – is not met.

14          2.       Requirement Two: The Authenticity of the Documents Is in Question.

15          Given that Facebook concedes that it changed these policies in December 2016 (and perhaps

16   other times as well), it is impossible for Plaintiffs to know whether these documents are authentic at any

17   point before April 3, 2017. And to the extent that Facebook offers Exhibits A and B as proof of what it

18   has “always” done or what it actually “requires” advertisers to do, those documents are not authentic

19   evidence. Because “the document[s’] authenticity” is “in question,” the Court cannot find that the

20   documents are incorporated by reference. Coto Settlement, 593 F.3d at 1038.

21          3.       Requirement Three: Facebook’s Documents Are Irrelevant To Resolving the
                     Motion to Dismiss.
22
            Most important, for two independent reasons, there are “disputed issues as to the document[s’]
23
     relevance.” Id. This dispute bars their consideration at the pleading stage. Id.
24
            First, regardless of the date of these documents, Plaintiffs dispute their relevance. Facebook
25
     relies on these policies as proposed evidence that it does not discriminate (or has not discriminated)
26
     against people of color. Id. But a formal policy asking others not to discriminate is not relevant to
27
     whether the defendant itself discriminated. See, e.g., Pittsburg Press Co. v. Pittsburgh Comm’n on
28
                                                        4                       PLS.’ OPP. TO FACEBOOK’S
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 1   Human Rel., 4 Pa. Cmwlth. 448, 461-62 (1972), aff’d, 413 U.S. 376 (1973) (“We have long passed that

 2   point in the advancement of civil rights whereby a declaration of intent” in a “disclaimer” “can be used

 3   as a screen or defense for actual discrimination.”).

 4                 Second, Facebook’s documents are irrelevant because it is unclear when they have applied, and

 5   Facebook admits that they did not apply at the time the action was filed. Plaintiffs allege that dating

 6   back years before the action was filed, Facebook has engaged in a pattern or practice of discriminatory

 7   recruitment for and advertising of employment, housing, and credit opportunities; Plaintiffs seek to

 8   represent a class of people of color who were denied economic opportunities by Facebook for several

 9   years before the filing of the action. See FAC ¶¶ 59, 82, 121, 127, 134, 144, 175, 189. For Facebook to

10   prevail on its motion to dismiss, Facebook must show that prior to the commencement of this action, it

11   did not violate any of the relevant federal or state laws or that it was immune from liability before the

12   action was filed. Therefore, documents or policies created or altered by Facebook after the complaint

13   was filed are irrelevant to the Court’s resolution of the motion to dismiss.

14                 Both of the documents that Facebook seeks to introduce at the pleading stage (Exhibits A and B)

15   are undated, and Facebook makes no effort to identify when they were created. And Facebook itself

16   states that it changed its policies in December 2016, after the complaint was filed, but before Exhibits A

17   and B were printed out from its website. See ECF No. 34 at 3 & n.2.1 At the appropriate time in

18   discovery, Facebook can produce all applicable policies, and the parties can agree on or litigate the

19   meaning of those policies. By themselves, Exhibits A and B do not support Facebook’s assertion that it

20   has “always” adhered to these policies, because they simply capture a snapshot of a moment in time

21   (April 3, 2017), months after the Complaint was filed.

22                 Furthermore, Exhibits A and B do not support Facebook’s assertion about what it actually, in

23   practice, “requires all advertisers to comply with.” ECF No. 34 at 3. Compliance is a separate question

24   for exploration in discovery. These open questions are helpful reminders of why the Ninth Circuit has

25   set such a high bar for the introduction of extraneous material for consideration at the pleading stage.

26                                                              
     1
      Whether Facebook actually changed its policies in December 2016 and in what ways it did so will be
27   subjects of discovery.
28
                                                                   5              PLS.’ OPP. TO FACEBOOK’S
                                                                              REQUEST FOR JUDICIAL NOTICE
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 1                                               CONCLUSION

 2          Facebook fails to meet the Ninth Circuit’s three-part test for incorporation by reference, because

 3   (1) the complaint does not rely on the documents; (2) the documents’ authenticity is in question; and (3)

 4   the documents’ relevance is a disputed issue. Therefore, Facebook’s request for judicial notice should

 5   be denied.

 6

 7                                                    Respectfully submitted,
 8 Dated: May 18, 2017                                By: /s/        Jahan C. Sagafi
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                                                      6                      PLS.’ OPP. TO FACEBOOK’S
                                                                         REQUEST FOR JUDICIAL NOTICE
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